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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

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  BABY DOE, A CITIZEN OF AFGHANISTAN :
  CURRENTLY        RESIDING  IN  NORTH :
  CAROLINA, BY AND THROUGH NEXT :                         CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,      :
                                        :
       Plaintiffs,                      :
                                        :
  v.                                    :
                                        :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                               :
                                        :
       Defendants,                      :
                                        :
  and                                   :
                                        :
  UNITED STATES SECRETARY OF STATE      :
  ANTONY BLINKEN AND UNITED STATES      :
  SECRETARY OF DEFENSE GENERAL          :
  LLOYD AUSTIN,                         :
                                        :
       Nominal Defendants.              :
                                        :
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                 PLAINTIFFS’ MOTION TO CONTINUE SHOW CAUSE
                HEARING CURRENTLY SCHEDULED FOR JULY 21, 2023

         On June 14, 2023, Plaintiffs filed their Emergency Motion to Show Cause Why Defendants

  Joshua and Stephanie Mast and Their Third Party Representatives Jonathan Mast and the Pipe

  Hitter Foundation Should Not Be Held In Contempt for Violating the Court’s Protective Order and

  for Expedited Discovery (the “Show Cause Motion”) (ECF No. 231). The factual basis for the

  Show Cause Motion is amply set forth therein. See Show Cause Motion at 2-8. Soon after that

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  filing, the Court set a briefing schedule and scheduled a hearing for July 21, 2023. The parties

  have filed their briefs. See ECF Nos. 231, 239, 244. For the reasons set forth below, Plaintiffs

  now move to continue the show cause hearing (the “Motion to Continue”).

         On June 16 and 17, 2023, Plaintiffs served subpoenas on Joshua Mast’s brother Jonathan

  Mast (“Jonathan”) and the Pipe Hitter Foundation (the “PHF”) seeking the production of

  documents and depositions. See Exhibits A and B. Those subpoenas followed shortly after

  Plaintiffs sent “cease and desist” letters to Jonathan and the PHF on June 13. See Exhibits C and

  D (without attachments).

         On July 9, the PHF produced over 600 pages of documents. On July 13, Jonathan produced

  39 documents, 11 of which were copies of filings in this case. On July 17, Plaintiffs deposed

  Jonathan. During the deposition, Plaintiffs marked as exhibits more than two dozen documents,

  roughly half of which had been produced by the PHF. Plaintiffs also undertook to schedule a Rule

  30(b)(6) deposition of the PHF and requested that it take place on the afternoon of July 18.

  Plaintiffs proposed to take the deposition remotely to accommodate the PHF’s California-based

  Executive Director, whom Plaintiffs understood was to be the PHF’s designee if a deposition were

  to go forward. On the evening of July 17, however, counsel for the PHF informed Plaintiffs’

  counsel that they would be filing a motion to quash the deposition component of the subpoena.

  PHF thus would not be producing a witness to be deposed. That motion was filed this evening

  with the Court.

         On the morning of July 18—having learned only the night before of the PHF’s intent to

  quash any deposition—Plaintiffs’ counsel advised counsel for Joshua and Stephanie Mast that they

  would be filing the Motion to Continue. As reflected in the email sent by the Masts’ counsel to




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  the Court this afternoon, the Masts are opposed to any continuance of the hearing on the Show

  Cause Motion. One has to wonder why.

          It cannot be that a postponement would subject the Masts to any undue prejudice. Nor can

  they credibly argue that a postponement would cause them to incur any additional attorneys’ fees

  or expenses; after all, if the Court grants the Motion to Continue, the Masts will have literally

  nothing to do but await the resolution of the PHF’s motion to quash. From where Plaintiffs sit, it

  appears that the singular reason the Masts want the hearing on July 21 to go forward is that they

  absolutely do not want the PHF to be deposed before any hearing. In short, they are not concerned

  about undue prejudice.

          Having examined the PHF’s documents, Plaintiffs believe that they prove that Jonathan

  was acting on Joshua’s behalf when he sent photos of Baby Doe to the PHF. Those photos were

  not just posted on the PHF’s website and social media platforms, but also were displayed during

  Jonathan’s June 6 interview with One America News Network. Jonathan testified in his July 17

  deposition that the PHF arranged for that interview.

          Soon after the PHF received Plaintiffs’ cease and desist letter, it began to remove from its

  website and social media platforms what had been posted. Indeed, each of the posts highlighted

  in Plaintiffs’ Show Cause Motion, see ECF No. 321, Ex. 1, have been removed. That action

  effectively eliminated the “emergency,” thus removing the necessity of having a fast hearing on

  the Show Cause Motion. The bell that cannot be unrung, of course, is Jonathan’s interview with

  One America News. That interview is still available on the One America News website—search

  for “Joshua Mast.”1




          1
              One America News Network, Search results for: Joshua Mast, https://www.oann.com/?s=joshua+mast
  (last visited July 18, 2023, 8:30 PM) (showing Jonathan’s June 6 interview in the results).

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         During his deposition, Jonathan testified that on May 10, 2023, he signed the “Pipe Hitter

  Foundation Grant Agreement” on behalf of the contract’s designated “Grantees,” whom the

  agreement lists in its preamble as “Joshua Mast and his family.” See Exhibit E. Plaintiffs received

  that document from the PHF; Jonathan did not produce a copy. Plaintiffs need to depose the PHF

  not only to authenticate the PHF documents that are relevant to the Show Cause Motion, but also

  (and more importantly) to learn the full extent of Joshua Mast’s interactions with the PHF since

  he first was in contact with the group sometime in January of this year.

                                          CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully move that the Court continue the hearing

  on the Show Cause Motion until at least seven days after a deposition of the PHF or the resolution

  of the PHF’s motion to quash, whichever is later.


  July 18, 2023                         Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 18th day of July 2023, I filed the foregoing with the Court’s

  electronic case-filing system, thereby serving all counsel of record in this case.



                                 By:     /s/ Maya Eckstein
                                         Maya M. Eckstein (VSB No. 41413)




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